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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
In re Case No. 07-20839-€-7

BERNARDO AGUNDEZ and MC NO. EDH-l

ERICA AGUNDEZ

Debtors.

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FINDINGS OF FACT AND CONCLUSIONS OF LAW
ON MDTION FOR RELIEF FROM AUTOMATIC STAY NOT INTENDED FOR
PUBLICATION
These findings of fact and conclusions of law, which are
not intended for publication, are rendered in this contested
matter pursuant to Federal Rule of Civil Procedure 52 as

incorporated by Federal Rules of Bankruptcy Procedure 7052 and

9014.

Jurisdiction
Jurisdiction is founded upon 28 U.S.C. § 1334. This is

a core proceeding. 28 U.S.C. § 157(b)(2)(G).

Findings of Fact

Debtors filed their voluntary chapter 7 petition on

 

 

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February 8, 2007. They scheduled real property commonly known
as 4544 Trinidad Court, Stockton, CA 95210 ("property") as
property of the estate. The first meeting of creditors was
held on March 19, 2007. The chapter 7 trustee filed a report
finding that there is no property available for distribution
from the estate over and above that exempted by the debtors.
Debtors were discharged from all dischargeable debts on May 22,
2007.

On April 23, 2007, U.S. Bank ("movant") filed a motion,
notice, and declaration requesting that this court vacate the
automatic stay to permit movant to foreclose upon the property.
The fair market value of the property is approximately
$300,000.00. Movant has a lien on the property in the
approximate amount of $76,903.01. There are other liens
against the property in the approximate amount of $294,000.00.

No opposition to the motion was filed within the time
prescribed by Local Bankruptcy Rule 9014-l(f)(1). The parties
have consented to taking evidence by affidavit and have not
demonstrated that there is any disputed material factual issue
that would warrant an evidentiary hearing. §§§ L. Bankr. R.
9014-l(f)(l). The evidentiary record is closed. ld;

Upon review of the record, the court determined that
the written record was adequate and that no oral argument is

necessary.

Conclusions of Law

 

The automatic stay of acts against debtor in personam

expires when the debtor is granted a discharge. ll U.S.C.

 

 

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§ 362(c)(2)(C). Acts against property of the estate remain
stayed until the earliest of the time when the bankruptcy case
is closed, dismissed, or the property ceases to be property of
the estate. 11 U.S.C. § 362(c). The automatic stay may be
terminated earlier if debtor fails to protect the secured
party's interest adequately, § 362(d)(l), and, with respect to
a stay of an act against property, debtor does not have equity
in the property, § 362(d)(2)(A), and the property is not
necessary to an effective reorganization. ll U.S.C. §
362(d)(2)(B)" The issue of whether the property is necessary
to an effective reorganization is not considered in a chapter 7
case because no reorganization is contemplated in a chapter 7
case.

Although the debtors do not appear to have any equity in
the property, since the debtors were granted a discharge, the
automatic stay has expired as to the debtors. Thus, the motion
insofar as it is directed at the interest of the debtors is
moot and will be denied.

However, the motion will be granted as to the interest
of the trustee.

An appropriate order will issue.

Dated: June\ , 2007

 

UNITED s'n>z?'s BANKRUPTCY JUDGE

 

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CERTIFICATE OF SERVICE

On the date indicated below, I served a true and
correct copy(ies) of the attached document by placing said
copy(ies) in a postage paid envelope addressed to the person(s)
hereinafter listed and by depositing said envelope in the
United States mail or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk's Office.

Bernardo Agundez
Erica Agundez

4544 Trinidad Court
Stockton, CA 95210

Kenneth L. Rubinger
1833 W. March Lane, #3
Stockton, CA 95207

Eric D. Houser

John M. White

Houser & Allison

A Professional Corporation
9970 Research Drive
Irvine, CA 92618

Gary Farrar
P.O. Box 576097
Modesto, CA 95357

Office of the United States Trustee
United States Courthouse

501 “I” Street, Suite 7-500
Sacramento, CA 95814

Dated: (I)H/D?

\)@W%M/

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